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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 19-CV-60752-RUIZ/STRAUSS

  BRENDA BELL,

         Plaintiff,
  v.

  ROYAL SEAS CRUISES, INC.,

         Defendant.
                                       /

                             REPORT AND RECOMMENDATION

         THIS MATTER came before the Court upon Defendant’s Motion to Compel Arbitration

  and to Dismiss Plaintiff’s Class Action Complaint [DE 16] (“Motion”). The Motion was referred

  to the undersigned, pursuant to the Order Referring Motions to Magistrate Judge [DE 34], to take

  all necessary and proper action as required by law. The undersigned has reviewed the Motion and

  the Response [DE 26] and Reply [DE 29] thereto.          For the reasons discussed herein, the

  undersigned RECOMMENDS that the Motion [DE 16] be DENIED WITHOUT PREJUDICE

  pending a bench trial on the limited issue discussed in Part III of the Analysis section below. If

  the Court finds for Defendant on that limited issue, the undersigned recommends that the Motion

  then be GRANTED.

                                           BACKGROUND

         Plaintiff filed a Class Action Complaint [DE 1] alleging violations of the Telephone

  Consumer Protection Act (TCPA) after receiving approximately five (5) telemarketing calls from

  Defendant. Defendant seeks to compel arbitration, asserting Plaintiff agreed to an arbitration

  provision governing the dispute that is the subject of the Complaint, when Plaintiff visited a

  website (http://www.consumerproductsusa.com; the “Website”) on September 11, 2018. The
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  Website is owned and operated by RewardsZone USA, LLC. According to an affidavit Defendant

  filed in support of its Motion (“Bhadania Affidavit”), visitors to the Website are prompted to

  provide identifying information, including their name, telephone number, email address, mailing

  address, and birth date. DE 16-1 at ¶¶ 7, 11-12. Although not described in the Motion or the

  accompanying affidavit, based on the Website’s terms and conditions (and descriptions in

  Plaintiff’s response), this gathering of information is under the auspices of the Website user

  registering for an online sweepstakes or promotion. DE 16-2 at p.2.

         Per the Bhadania Affidavit, a user visited the Website on September 11, 2018, and provided

  Plaintiff’s name and other identifying information. DE 16-1 at ¶¶ 7, 11-12. The user then clicked

  on the below-pictured “Continue” button (around 11:09 a.m. EST), which was directly underneath

  the following statement:




  DE 16-1 at ¶¶ 7-8. The Terms and Conditions (which can be viewed by clicking the hyperlinked

  “Terms & Conditions” above) contain an arbitration provision. This provision requires the person

  visiting the Website “to arbitrate individually any disputes or claims you may have with [the

  Website owner] and [its] affiliates, advertiser clients and marketing partners (collectively,

  “Marketing Partners”) who are third party beneficiaries of the mandatory arbitration provision.”

  Id. at ¶ 9. The terms then specify, by way of example, that disputes regarding telemarketing or the


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  receipt of SMS/text messages will be subject to arbitration. Id. Moreover, absent resolution of a

  dispute “concerning any aspect of the[] Terms & Conditions” directly with the owner of the

  Website, the arbitration provision requires the submission of the dispute to arbitration before the

  American Arbitration Association. DE 16-2 at p. 6. It also delegates “exclusive authority [to the

  arbitrator] to resolve any dispute including any claim that all or any part of the Terms &

  Conditions, including this provision, are unenforceable.” Id. at pp. 6-7.

         The Terms and Conditions do not identify who the Marketing Partners are.              On a

  subsequent page, apparently displayed after a user clicks the Continue button described above, the

  user is asked to confirm his or her personal information to complete registration. DE 16-1 at ¶ 12.

  Below a display of the information the user provided appears a message explaining that the user,

  by checking a box and clicking another Continue button, consents to receive telephone sales calls

  and text messages “from CAC and our Marketing Partners” on the telephone number the user

  provided. Id. The words “Marketing Partners” are hyperlinked, and clicking on that link displays

  an extensive list of “call center brand names” including Defendant. Id. at ¶ 13.

         According to Plaintiff’s declaration, however, Plaintiff never visited the Website prior to

  the filing of the Motion (on June 25, 2019), and she never authorized anyone to visit the Website

  on her behalf. See DE 26-1 at ¶ 6. Indeed, she asserts that she has never provided her information

  to, or participated in, any online sweepstakes, nor authorized anyone else to do so on her behalf.

  Id. at ¶¶ 9-10, 12. Nevertheless, Plaintiff acknowledges that the person who visited the Website

  on September 11, 2018 provided Plaintiff’s correct name, phone number, mailing address, email

  address, and date of birth. See id. at ¶ 8. The Website also recorded an IP address associated with

  the user who provided Plaintiff’s information. Neither party has presented evidence identifying

  the subscriber to whom the IP address was assigned; though, Plaintiff asserts (in an unsworn



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  statement) that “preliminary research” by her counsel indicates the IP address is associated with

  Detroit, Michigan or Akron, Ohio. DE 26 at n.2. Plaintiff’s declaration states that Plaintiff has

  never visited either city. DE 26-1 at ¶ 11.

                                        LEGAL STANDARD

         An arbitration agreement “shall be valid, irrevocable, and enforceable, save upon such

  grounds as exist at law or in equity for the revocation of any contract.” 9 U.S.C. § 2. The Federal

  Arbitration Act (“FAA”) “creates a ‘presumption of arbitrability’ such that ‘any doubts concerning

  the scope of arbitrable issues should be resolved in favor of arbitration.’” Bazemore v. Jefferson

  Capital Sys., LLC, 827 F.3d 1325, 1329 (11th Cir. 2016) (quoting Dasher v. RBC Bank (USA),

  745 F.3d 1111, 1115-16 (11th Cir. 2014)). Notably, “parties may agree to arbitrate gateway

  questions of arbitrability including the enforceability, scope, applicability, and interpretation of

  the arbitration agreement.” Jones v. Waffle House, Inc., 866 F.3d 1257, 1264 (11th Cir. 2017)

  (citing Rent-A-Ctr., W., Inc. v. Jackson, 561 U.S. 63, 68-69 (2010)). If the parties clearly and

  unmistakably agreed to arbitrate gateway issues, then the arbitrator decides those issues; otherwise,

  the court decides any gateway issues. See id. at 1267.

         Nevertheless, when the making of the arbitration agreement is at issue, courts must find

  that the parties agreed to the arbitration agreement before referring the matter to arbitration. See

  Rent-A-Ctr., 561 U.S. at 68 (“The court ‘shall’ order arbitration ‘upon being satisfied that the

  making of the agreement for arbitration or the failure to comply therewith is not in issue.’” (quoting

  9 U.S.C. § 4)). Significantly, the presumption of arbitrability “does not apply to disputes

  concerning whether an agreement to arbitrate has been made.” Bazemore, 827 F.3d at 1329

  (quoting Dasher, 745 F.3d at 1116).




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          “If the making of the arbitration agreement . . . be in issue, the court shall proceed

  summarily to the trial thereof.” 9 U.S.C. § 4. To determine whether the making of the arbitration

  agreement is in issue, courts apply a summary judgment-like standard. Bazemore, 827 F.3d at

  1333. Thus, “a district court may conclude as a matter of law that parties did or did not enter into

  an arbitration agreement only if ‘there is no genuine dispute as to any material fact’ concerning

  the formation of such an agreement.” Id. (citing Fed. R. Civ. P. 56(a)). “When deciding whether

  the parties agreed to arbitrate a certain matter (including arbitrability), courts generally . . . should

  apply ordinary state-law principles that govern the formation of contracts.”1 First Options of Chi.,

  Inc. v. Kaplan, 514 U.S. 938, 944 (1995) (citations omitted). The Eleventh Circuit “repeatedly has

  emphasized that ‘state law generally governs whether an enforceable contract or agreement to

  arbitrate exists.’” Bazemore, 827 F.3d at 1329 (citation omitted).

          Ultimately, if a genuine dispute of material fact regarding the making of an arbitration

  agreement exists, courts must move forward with the trial provided for in 9 U.S.C. § 4. See Burch

  v. P.J. Cheese, Inc., 861 F.3d 1338, 1346 (11th Cir. 2017). Although one has a statutory right (but

  not a constitutional right), pursuant to § 4, to specifically demand a jury trial on the issue of the

  making of an arbitration agreement (in the context of a motion to compel arbitration), that statutory




  1
    Neither party addresses which state’s laws should apply to the contract formation issues; nor do
  they suggest that there is a conflict between any of the state laws that may apply. Although the
  parties do not expressly argue that any specific state’s laws should apply, both parties cite to
  Florida case law and appear to apply Florida law to at least certain issues. Therefore, the
  undersigned also applies Florida law to the contract formation issues. The undersigned finds that
  it is proper to apply the law of the forum state (Florida) because the parties have not identified any
  conflict of law. See Nationmotor Club Inc. v. Stonebridge Cas. Ins. Co., No. 10-CV-81157, 2013
  WL 6729664, at *11 (S.D. Fla. Oct. 29, 2013) (“Where the parties have not identified a conflict
  between the two bodies of state law that might apply to their dispute, we will apply the law of the
  forum state.” (quoting Gould v. Artisoft, Inc., 1 F.3d 544, 549 n. 7 (7th Cir. 1993))). While the
  agreement at issue contains a choice of law provision, the Court cannot apply that provision here
  when it is deciding whether the parties actually entered into that agreement in the first place.
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  right is waived if a jury demand is not made in accordance with § 4. See Burch, 861 F.3d at 1347-

  50. Importantly, a general jury demand in a complaint is insufficient to preserve the statutory right

  to a jury trial under § 4. Id. at 1349-50.

                                               ANALYSIS

          Plaintiff opposes the Motion for three (3) reasons.         First, Plaintiff contends that no

  agreement to arbitrate was ever made because she did not visit the Website on the date in question

  or any other date prior to the filing of the Motion. In other words, Plaintiff argues that, since she

  never visited the Website, she could not have clicked the Continue button to indicate assent to the

  arbitration agreement (assuming that would constitute consent). 2 Second, Plaintiff argues that,

  even if she was the person who visited the Website and clicked the Continue button, such conduct

  is insufficient to create an agreement. That is because, according to Plaintiff, the Website is

  designed in a manner that is insufficient to capture assent to the Terms and Conditions (including

  the arbitration provision) from the person clicking the Continue button (unless that person has

  actual knowledge of the Terms and Conditions). Third, Plaintiff argues that even if an agreement

  to arbitrate was made, Defendant is not a third-party beneficiary that is entitled to enforce the

  arbitration agreement.

          Defendant replies arguing that the issues Plaintiff raises must be decided by the arbitrator

  because the arbitration agreement contains a delegation clause pursuant to which the arbitrator,

  not the Court, is tasked with deciding gateway issues. However, Defendant argues that if the Court

  is to decide the merits of Plaintiff’s three (3) arguments, it should rule in Defendant’s favor because

  Plaintiff’s declaration is insufficient to create a genuine issue of material fact, the Website provided




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   A similar argument would apply to whether Plaintiff consented to receive the calls cited in her
  Complaint, though that issue is not currently before the Court.
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  sufficient inquiry notice of the Terms and Conditions to create an agreement, and Defendant is a

  third-party beneficiary under the agreement.

            As discussed herein, the Court must decide the issue of whether an agreement was made,

  rather than delegating that question to an arbitrator. While the undersigned finds that a person who

  visited the Website and clicked “Continue” assented to the Terms and Conditions (including the

  arbitration provision), the undersigned finds that the Court must hold a bench trial to determine

  whether Plaintiff, or someone acting on her behalf, actually visited the Website on September 11,

  2018, in order to determine whether Plaintiff entered into an agreement to arbitrate.

      I.       DELEGATION OF GATEWAY ISSUES

            Defendant correctly argues that the arbitration provision at issue contains a delegation

  clause making gateway issues arbitrable.         However, Defendant incorrectly argues that this

  delegation clause requires that the arbitrator, not the Court, determine whether an agreement was

  made in the first instance.

            Courts must look to the wording of a delegation clause to ascertain whether it reflects the

  requisite “clear and unmistakable intent to arbitrate gateway issues.” Jones, 866 F.3d at 1267.

  The requisite intent is present when the provision requires arbitration of “any dispute” concerning

  gateway issues. Id. In this case, the relevant provision delegates “exclusive authority [to the

  arbitrator] to resolve any dispute including any claim that all or any part of the Terms &

  Conditions, including this provision, are unenforceable.” DE 16-2 at pp. 6-7 (emphasis added).

  Thus, the delegation provision clearly and unmistakably evinces an intent to arbitrate gateway

  issues; therefore, if Plaintiff agreed to the arbitration clause, the parties must arbitrate any gateway

  issues.




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         However, before this matter can be referred to arbitration to decide even gateway issues,

  the Court must find that Plaintiff agreed to the arbitration agreement in the first place. Plaintiff

  disputes that she did, and the Court must make this threshold determination regardless of whether

  a delegation clause exists. The clear text of 9 U.S.C. § 4 indicates that the Court should only direct

  the parties to proceed with arbitration once it is “satisfied that the making of the agreement for

  arbitration or the failure to comply therewith is not in issue.” While the parties are free to agree

  to alternative ways to resolve their disputes, including by agreeing to a delegation clause, this

  presupposes the existence of an agreement. After all, “a party cannot be required to submit to

  arbitration any dispute which he has not agreed so to submit.” JPay, Inc. v. Kobel, 904 F.3d 923,

  929 (11th Cir. 2018) (quoting United Steelworkers of Am. v. Warrior & Gulf Navigation Co., 363

  U.S. 574, 582 (1960)). Therefore, it is clear that the Court, not an arbitrator, should decide whether

  the parties entered into the arbitration agreement in the first instance.

         Nevertheless, assuming Plaintiff agreed to the arbitration provision, the issue of whether

  Defendant is a third-party beneficiary under the agreement is one for the arbitrator to decide in

  light of the delegation clause. When a delegation clause exists, there are only two issues a court

  must decide (if contested) before compelling arbitration. As discussed above, one is “the making

  of the agreement for arbitration or the failure to comply therewith” if “in issue.” 9 U.S.C. § 4.

  The other is a challenge specifically directed to the validity of the arbitration provision as opposed

  to the contract as a whole. See Buckeye Check Cashing, Inc. v. Cardegna, 546 U.S. 440, 449

  (2006) (“[A] challenge to the validity of the contract as a whole, and not specifically to the

  arbitration clause, must go to the arbitrator.”). Notably, the Eleventh Circuit has recognized that

  there is “a two-step process required in considering the arbitrability of any contract containing an

  arbitration clause.” Solymar Investments, Ltd. v. Banco Santander S.A., 672 F.3d 981, 990 (11th



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  Cir. 2012). Those steps are: “1) resolution of any formation challenge to the contract containing

  the arbitration clause, in keeping with Granite Rock; and 2) determination of whether any

  subsequent challenges are to the entire agreement, or to the arbitration clause specifically, in

  keeping with Prima Paint.” Id. (citing Granite Rock Co. v. Int’l Bhd. of Teamsters, 561 U.S. 287

  (2010); Prima Paint Corp. v. Flood & Conklin Mfg. Co., 388 U.S. 395 (1967)).

          Again, the Court must resolve Plaintiff’s formation challenges notwithstanding the

  delegation provision. However, the second step is a non-issue because Plaintiff does not contest

  the validity of the arbitration provision—she only contests “that any agreement was made to begin

  with.” DE 26 at n.1. Thus, if Plaintiff’s third-party beneficiary argument falls into the first step—

  if it involves the making of the agreement—it is for the Court to decide. Otherwise, it is for the

  arbitrator to decide.

          The undersigned finds that Plaintiff’s third-party beneficiary argument is for the arbitrator

  to decide because it does not go to the issue of whether Plaintiff agreed to the Terms and Conditions

  (including the arbitration provision therein) in the first place. Interestingly, in a separate part of

  her Response, Plaintiff states that her “challenge to the ‘validity’ of the agreement is not based on

  construction of its terms” but rather whether “any agreement was made to begin with,” thus

  acknowledging (at least implicitly) that issues requiring contract construction are for the arbitrator

  to decide. DE 26 at n.1. Yet, Plaintiff’s third-party beneficiary argument implores the Court to

  engage in such construction. For instance, Plaintiff argues that the agreement is ambiguous with

  respect to its use of the term “marketing partners” and that it should, therefore, be construed against

  the drafter. See id. at pp. 11-14. This plainly goes beyond the issue of the making of the agreement.

  Given that the foregoing issue is not covered under either of the two steps the Eleventh Circuit




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   discussed in Solymar, the undersigned concludes that Plaintiff’s third-party beneficiary argument

   is an issue for the arbitrator to decide if the Court compels arbitration.

            Importantly, the Supreme Court has pronounced, in no uncertain terms, that “[w]hen the

   parties’ contract delegates the arbitrability question to an arbitrator, a court may not override the

   contract. In those circumstances, a court possesses no power to decide the arbitrability issue.”

   Henry Schein, Inc. v. Archer & White Sales, Inc., 139 S. Ct. 524, 529-31 (2019). See also Rent-

   A-Ctr., 561 U.S. at 67 (“The FAA . . . requires courts to enforce [arbitration agreements] according

   to their terms.”). Here, the subject agreement provides the arbitrator with “exclusive authority to

   resolve any dispute,” and any dispute encompasses the third-party beneficiary dispute. Therefore,

   giving full effect to the terms of the arbitration agreement, the Court must defer to the arbitrator

   on this dispute if arbitration is otherwise mandated.

      II.      WEBSITE DESIGN AND ASSENT

            If, as Plaintiff asserts, the Website’s design could not lead to the formation of a contract

   absent evidence that the Website user had actual knowledge of the Terms and Conditions, then no

   trial would be necessary to determine whether Plaintiff used the Website. However, the person

   who visited the Website and clicked Continue manifested assent to be bound by the arbitration

   provision (contained in the Terms and Conditions) as a matter of Florida law. No genuine dispute

   of material fact regarding this issue exists.

            As Florida courts have recognized, there are two main types of internet contracts, clickwrap

   agreements and browsewrap agreements. MetroPCS Commc’ns, Inc. v. Porter, 273 So. 3d 1025,

   1028 (Fla. 3d DCA 2018) (citing Vitacost.com, Inc. v. McCants, 210 So. 3d 761, 762 (Fla. 4th

   DCA 2017)). “A ‘clickwrap’ agreement occurs when a website directs a purchaser to the terms

   and conditions of the sale and requires the purchaser to click a box to acknowledge that they have



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   read those terms and conditions.” Id. (quoting Vitacost, 210 So. 3d at 762). “A ‘browsewrap’

   agreement occurs when a website merely provides a link to the terms and conditions and does not

   require the purchaser to click an acknowledgement during the checkout process. The purchaser

   can complete the transaction without visiting the page containing the terms and conditions.” Id.

   (quoting Vitacost, 210 So. 3d at 762). Courts generally enforce clickwrap agreements. Vitacost,

   210 So. 3d at 762. Browsewrap agreements, however, “have only been enforced when the

   purchaser has actual knowledge of the terms and conditions, or when the hyperlink to the terms

   and conditions is conspicuous enough to put a reasonably prudent person on inquiry notice.”

   MetroPCS, 273 So. 3d at 1028 (quoting Vitacost, 210 So. 3d at 762).

          In MetroPCS, the court considered whether a cell phone user had inquiry notice of an

   arbitration provision contained in MetroPCS’s terms and conditions. Id. at 1026. The user

   received short monthly text messages from MetroPCS prompting him to pay for the next month’s

   service. Id. at 1027. The text messages ended with the hyperlinked statement that “Terms &

   Conditions apply.” Id. The court noted that the agreement (the terms and conditions) was more

   in the nature of a browsewrap agreement than a clickwrap agreement. Id. at 1028. Therefore, it

   considered whether the hyperlink was sufficiently conspicuous to put the user on notice that

   continued use of the service constituted assent to the terms and conditions. See id. at 1026-29 &

   n.1. Ultimately, the court concluded that notice was conspicuous, thereby rendering the agreement

   enforceable. Id. at 1029. Notably, MetroPCS did not require (or, apparently, even contemplate

   the need for) more explicit language informing the user that his act (use of the service) constituted

   acceptance of the terms. See generally id.

          When faced with websites containing something less than a pure clickwrap agreement,

   other courts have similarly evaluated how conspicuous the hyperlink to the site’s terms and



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   conditions was, and whether the site provided notice that a specific action would demonstrate

   acceptance of those terms, in deciding whether a user was put on sufficient inquiry notice such

   that the user assented to the terms. For example, in one of the most comprehensive analyses of the

   issue, the Ninth Circuit has said that where “there is no evidence that the website user had actual

   knowledge of the agreement, the validity of the browsewrap agreement turns on whether the

   website puts a reasonably prudent user on inquiry notice of the terms of the contract.” Nguyen v.

   Barnes & Noble Inc., 763 F.3d 1171, 1177 (9th Cir. 2014) (citing Specht v. Netscape Commc’ns

   Corp., 306 F.3d 17, 30-31 (2d Cir. 2002)).

          Whether a user has inquiry notice of a browsewrap agreement, in turn, depends on
          the design and content of the website and the agreement’s webpage. Where the link
          to a website’s terms of use is buried at the bottom of the page or tucked away in
          obscure corners of the website where users are unlikely to see it, courts have refused
          to enforce the browsewrap agreement. On the other hand, where the website
          contains an explicit textual notice that continued use will act as a manifestation of
          the user’s intent to be bound, courts have been more amenable to enforcing
          browsewrap agreements. In short, the conspicuousness and placement of the
          “Terms of Use” hyperlink, other notices given to users of the terms of use, and the
          website’s general design all contribute to whether a reasonably prudent user would
          have inquiry notice of a browsewrap agreement.

   Id. (internal citations omitted). Nguyen, and the cases it collects, thus describe a continuum for

   website designs, with unenforceable browsewrap agreements containing “tucked away” terms at

   one end, very explicit clickwrap agreements at the other end, and other designs in the middle,

   varying based on different factors including how clearly they link acceptance of terms to the user

   taking some action.




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          The Website at issue in this case falls near the center of this continuum. 3 But in light of

   the analysis in MetroPCS, under Florida law, 4 the design here is close enough to the clickwrap end

   of the spectrum to provide the requisite inquiry notice. Like in MetroPCS, this case has features

   of a browsewrap agreement in that a visitor to the Website is not required to view the Terms and

   Conditions or check a box acknowledging that he or she read the Terms and Conditions. However,

   the Website in this case has features that put a reasonable user on notice that he or she is assenting

   to the Terms and Conditions.

          First, in terms of placement, the Website does not simply “tuck away” the Terms and

   Conditions in an obscure corner of the Website where a user is unlikely to encounter them. Rather,

   the statement regarding the Terms and Conditions is located directly above the Continue button

   that the user must click to proceed with using the Website. Thus, it is highly likely that the user

   would see the statement regarding the Terms and Conditions. On this factor, the Website provides

   at least as much notice as in MetroPCS, where the link to terms and conditions was placed at the

   end of a short text message to the user.




   3
    Some courts have referred to the type of agreement at issue as “hybridwrap.” See, e.g., Anand v.
   Heath, No. 19-CV-00016, 2019 WL 2716213, at *3 (N.D. Ill. June 28, 2019); Nicosia v.
   Amazon.com, Inc., 384 F. Supp. 3d 254, 265-67 (E.D.N.Y. 2019).
   4
     “In the absence of inter-district conflict or contrary precedent from [the Florida Supreme] Court,
   it is absolutely clear that the decision of a district court of appeal is binding precedent throughout
   Florida.” Sys. Components Corp. v. Fla. Dep’t of Transp., 14 So. 3d 967, 973 n.4 (Fla. 2009)
   (citation omitted). See also Galindo v. ARI Mut. Ins. Co., 203 F.3d 771, 775 (11th Cir. 2000)
   (“Absent a decision by the highest state court or persuasive indication that it would decide the
   issue differently, federal courts follow decisions of intermediate appellate courts in applying state
   law. Concomitantly, the Florida Supreme Court has held that [t]he decisions of the district courts
   of appeal represent the law of Florida unless and until they are overruled by [the Florida Supreme]
   Court. Thus, in the absence of interdistrict conflict, district court decisions bind all Florida trial
   courts.” (internal quotations marks and citations omitted)).
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          Second, rather than simply having a link that informs the user that Terms and Conditions

   merely exist, the short sentence regarding the applicability of terms and conditions specifically

   starts off by stating “I understand and agree.” Thus, as Nguyen suggests, there is an explicit textual

   notice that continued use will act as a manifestation of an intent to be bound. A reasonable user

   confronting a sentence “I understand and agree to email marketing, the Terms & Conditions which

   includes mandatory arbitration, and Privacy Policy” would understand that he or she is assenting

   to the linked terms and, significantly, that those terms “include[] mandatory arbitration.”

          Finally, although the user is not required to check an acknowledgement box to accept the

   Terms and Conditions, he or she must take the affirmative act of clicking the Continue button

   directly below the relevant statement. In MetroPCS, however, the user was not required to click

   anything. There, the only affirmative action that the user needed to take was to pay his or her bill

   and continue using his or her cell phone service. The statement here does not explicitly indicate

   that clicking Continue is the affirmative act by which the user would manifest her

   acknowledgement of the “I understand and agree” statement. But its placement directly over the

   Continue button, combined with the fact that clicking “Continue” demonstrates a clearly

   manifested intent to continue using the Website, would strongly imply to a reasonable user a

   connection between the “I understand and agree” statement and clicking Continue. Again, the

   connection between continued use of the site (by clicking a button that literally says “Continue”)

   and assent to the Terms and Conditions hyperlinked directly above the Continue button is at least

   as clear, if not clearer, than the connection between continued use of the cell phone service and

   assent to the terms and conditions in MetroPCS.

          Plaintiff relies heavily on a Northern District of Illinois decision that examined a website

   design that was virtually indistinguishable from the design at issue here; in that case, the court



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   found the website did not provide the user with adequate notice. See Anand, 2019 WL 2716213,

   at *3-4 (finding that the plaintiff “was not placed on reasonable notice that she was manifesting

   assent to the terms and conditions by clicking the ‘Continue’ button,” and, consequently, holding

   that the plaintiff did not manifest assent). The key to Anand’s conclusion was that the “I

   understand and agree” language, though placed directly above, the “Continue” button, did not

   expressly tell the user that clicking “Continue” would manifest assent. Id. However, the

   undersigned respectfully disagrees with Anand for the following reasons.

          First, while Nguyen did note that “the proximity or conspicuousness of the hyperlink alone

   is not enough to give rise to constructive notice” without language indicating that some affirmative

   action will constitute assent to hyperlinked Terms and Conditions, 763 F.3d at 1178-79, the Anand

   decision gives insufficient weight to the combination of: (1) the proximity of the statement

   regarding Terms and Conditions (appearing directly above the Continue button) and (2) the “I

   understand and agree” language that accompanied the hyperlink to the Terms and Conditions. As

   described above, although explicit language stating “By clicking Continue I understand and agree

   . . .” would have given the user even clearer notice, the logical implication of the “I understand

   and agree” language being placed directly above the Continue button is sufficiently strong that a

   reasonable user would understand the effect of pressing Continue. Second, none of the cases on

   which Anand relies dictate its conclusion. None of the precedents it cites finding insufficient notice

   involved the combination of the language and proximity presented here. Finally, and most

   importantly, Anand applied Illinois law, while Florida law applies in this case. To the extent that

   Anand assesses how much weight to afford to the different factors relevant to the sufficiency of

   notice, MetroPCS assesses the issue differently, and the undersigned must follow MetroPCS in

   applying Florida law. Therefore, as a matter of Florida law, there is no genuine dispute of material



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   fact as to whether the person who clicked Continue on the Website assented to the Terms and

   Conditions.

      III.      WHETHER PLAINTIFF VISITED THE WEBSITE

             However, the undersigned does find that a genuine dispute of material fact exists with

   respect to whether Plaintiff (or someone with authority to act on her behalf) visited the Website,

   and clicked “Continue,” on the date and time in question. Thus, the making of the arbitration

   agreement presents a genuine issue for trial. Defendant meets its initial burden (for summary

   judgment purposes) by showing that someone identifying herself or himself as Plaintiff was the

   person who went to the Website. Significantly, it is undisputed that all of Plaintiff’s personal

   information that was entered on the Website is accurate. However, Plaintiff has provided a

   declaration containing specific, colorable, and non-conclusory facts that show there is a genuine

   issue for trial. She has very clearly and specifically denied visiting the Website at any time prior

   to the filing of the Motion (which was filed almost a year after Defendant asserts Plaintiff went to

   the Website). She has also sworn that she did not authorize anyone to go to the Website on her

   behalf. Therefore, a reasonable factfinder could find for either party on the issue of whether

   Plaintiff, or a person with authority to act for her, went to the Website, on the date and time in

   question, and clicked Continue. Consequently, it is necessary to hold a trial on this issue.

             Notably, under similar factual circumstances, Judge Middlebrooks found that a trial on the

   making of an arbitration agreement was necessary because “Plaintiffs’ denials place[d] at issue the

   existence of binding agreements to arbitrate.” See Hilton v. Fluent, LLC, 297 F. Supp. 3d 1337,

   1342-43 (S.D. Fla. 2018). Although the necessity of a trial was strengthened in Hilton because of

   “the curious circumstances under which their phone numbers came to be associated with other




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   purportedly inaccurate personal data,” it does not appear that the result would have been different

   even if the personal information was accurate. Id. at 1343.

          Defendant points to the accuracy of the personal information as an indication that there is

   no genuine dispute. Relatedly, Defendant complains that Plaintiff has not produced her web-

   browsing history or more particular evidence regarding her IP address to refute Defendant’s

   presumption, based on probative evidence, that Plaintiff visited the Website. While the fact that

   the information submitted to the Website accurately describes Plaintiff serves to strengthen

   Defendant’s position, it does not preclude a reasonable factfinder from finding for Plaintiff.

   Moreover, Defendant’s complaint about the lack of additional evidence is unavailing (at least for

   summary judgment purposes) where Defendant has the burden to prove the existence of the

   contract it seeks to enforce. See Bazemore, 827 F.3d at 1330; CEFCO v. Odom, 278 So. 3d 347,

   352 (Fla. 1st DCA 2019) (“The party seeking enforcement of an agreement has the burden of

   establishing that an enforceable agreement exists.”).

          Given that a trial is necessary, the next question is whether it should be a jury trial or a

   bench trial. The answer is a bench trial inasmuch as Plaintiff waived her statutory right to a jury

   trial on the issue of whether an agreement was made. See Burch, 861 F.3d at 1346-50. That is

   because Plaintiff failed to specifically demand a jury trial on the issue of the making of an

   arbitration agreement on or before the deadline for Plaintiff to respond to the Motion. See id. at

   1349 & n.17. She did not specifically demand a jury trial in her Response [DE 26] nor in any

   separate filing. Although Plaintiff did request a jury trial in her Complaint [DE 1] “of all claims

   that can be so tried,” such a general demand is insufficient to satisfy the procedure required in 9

   U.S.C. § 4. See id. at 1346-50. In light of the foregoing, the Court should proceed summarily to

   a bench trial. See id.; 9 U.S.C. § 4.



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                                             CONCLUSION

          For the reasons discussed above, the undersigned RECOMMENDS that the District Court

   DENY the Motion [DE 16] WITHOUT PREJUDICE and that it hold a trial on the issue of

   whether Plaintiff (or someone authorized by Plaintiff) was the person who visited the Website and

   clicked the “Continue” button on September 11, 2018 at approximately 11:09 a.m. EST. If the

   Court finds that Plaintiff (or someone authorized by Plaintiff) was that person, the undersigned

   recommends that the District Court revisit its ruling, GRANT the Motion, and compel arbitration.

          The parties will have fourteen (14) days from the date of being served with a copy of this

   Report and Recommendation within which to file written objections, if any, with the Honorable

   Rodolfo A. Ruiz, United States District Judge. Failure to timely file objections shall bar the parties

   from a de novo determination by the District Judge of an issue covered in the Report and shall bar

   the parties from attacking on appeal unobjected-to factual and legal conclusions contained in this

   Report except upon grounds of plain error if necessary in the interest of justice. See 28 U.S.C. §

   636(b)(1); Thomas v. Arn, 474 U.S. 140, 149 (1985); Henley v. Johnson, 885 F.2d 790, 794 (11th

   Cir. 1989); 11th Cir. R. 3-1.

          DONE AND SUBMITTED in Fort Lauderdale, Florida on this 13th day of May 2020.




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